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                    UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

EVA KOPADDY, as Personal                       )
Representative of the Estate of                )
Ronald Given, Deceased,                        )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )   Case No. CIV-20-1280-G
                                               )
POTTAWATOMIE COUNTY                            )
PUBLIC SAFETY CENTER et al.                    )
                                               )
       Defendants.                             )

                                          ORDER

       Now before the Court is Plaintiff Eva Givens’ Motion to Strike (Doc. No. 34),

seeking to strike Plaintiff counsel’s previous Motion to Withdraw as Attorney (Doc. No.

33).

       Plaintiff’s counsel represents that he filed his Motion to Withdraw because “he had

perceived he had some professional obligations requiring his immediate withdrawal from

this matter . . . .” Pl.’s Mot. to Strike at 2. Counsel states that he and Plaintiff have since

“resolved those issues to their mutual satisfaction.”            Id.    Based on counsel’s

representations, the Court construes the instant Motion as a request to withdraw counsel’s

previous Motion to Withdraw.

       Plaintiff counsel’s Motion to Withdraw as Attorney (Doc. No. 33) is DEEMED

WITHDRAWN. As a result, Plaintiff’s Motion to Strike (Doc. No. 34) and Plaintiff’s

Motion to Supplement Motion to Strike (Doc. No. 35) are DENIED AS MOOT.
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IT IS SO ORDERED this 2nd day of August, 2022.




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